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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA               )
                                       )
v.                                     )        CASE NO.: 1:21-CR-199-ELR-CCB
                                       )
PAUL KWAK                              )
MICHELLE KWAK                          )

                PARTIES’ JOINT MOTION TO EXTEND THE
                    PRETRIAL MOTIONS DEADLINE

      The United States and Defendants Paul Kwak and Michelle Kwak hereby file

this Joint Motion and respectfully request that the Court extend the pretrial motions

deadline. In support of this request, the parties show the following:

                                           1.

      On May 18, 2021, an Indictment was filed in this District charging Mr. and

Mrs. Kwak with violations of 18 U.S.C. §§ 641, 1343, 1956, 371, and 1349.

                                           2.

      As this Court is well-aware, the pretrial motions deadline has been extended

several times in order to allow the Government to produce discovery materials. The

current pretrial motions deadline is September 7, 2022. A pretrial conference is

scheduled for September 9, 2022.
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                                           3.

      The government recently advised that its review of the electronic devices is now

complete and that they have not found any further responsive material from that

review. Further, the government has stated that it does not anticipate producing any

more discovery.

                                           4.

      Given that a fair amount of discovery has been produced to date (including a

supplemental production since the last extension), counsel for Mr. and Mrs. Kwak

need some additional time to evaluate the evidence now that discovery is complete to

finalize their pre-trial motions. In addition, the parties are in discussions to also

potentially resolve the cases via plea.

                                           5.

      For these reasons, in the instant filing, the parties request the Court to extend

the pretrial motions deadline for 60 days. If the case is not resolved through a plea, no

further extensions of the pretrial motions deadline will be requested, assuming the

Government does not produce any additional discovery.

                                           6.

      Both defendants agree that the time period granted as a continuance is

excludable under the Speedy Trial Act, 18 U.S.C. § 3161(7)(A).


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     Respectfully submitted this 6th day of September, 2022.

                                    /s/ Page A. Pate
                                    Page A. Pate
                                    Georgia State Bar No. 565899
                                    Kate Forrest
                                    Georgia State Bar No. 555336

                                    ATTORNEYS FOR PAUL KWAK
Pate, Johnson & Church, LLC
101 Marietta Street
Suite 3300
Atlanta, Georgia 30303
(404) 223-3310
page@patejohnson.com
kate@patejohnson.com

                                    /s/ W. Carl Lietz, III
                                    W. Carl Lietz, III
                                    Georgia State Bar No. 452080

                                    ATTORNEY FOR MICHELLE KWAK
Finch McCranie, LLP
229 Peachtree Street, NE
Suite 2500
Atlanta, Georgia 30303
404-658-9070; Fax 404-688-0649
carl@finchmccranie.com

                                    /s/ Michael S. Qin
                                    Michael S. Qin
                                    Assistant United States Attorney
                                    Georgia State Bar No. 206110
75 Ted Turner Drive SW
Atlanta, GA 30303
404-581-6000
michael.qin@usdoj.gov


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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day electronically filed the foregoing Motion

with the Clerk of Court using the CM/ECF system which will automatically send

email notifications of such filing to all counsel of record in this matter.

      Dated: This 6th day of September, 2022.

                                        /s/ W. Carl Lietz, III
                                        W. Carl Lietz, III
                                        Georgia State Bar No. 452080




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